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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                                  No. 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.

      GOOGLE LLC’S SEALING RESPONSE TO PLAINTIFFS’ MOTION TO SEAL
          PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO GOOGLE’S
           MOTION TO STRIKE THE JURY DEMAND AND TO DISMISS

         Plaintiffs filed a motion to seal portions of their Memorandum in Opposition to Google’s

  Motion to Strike the Jury Demand and to Dismiss (“Opposition”) (Dkt. No. 689). Several portions

  of the Opposition are redacted (Dkt. No. 688, filed under seal as Dkt. 690). Plaintiffs redacted

  references to certain but-for revenue share and damages figures, and other figures, derived from

  information that Google has designated as confidential or highly confidential. As a result, Plaintiffs

  filed the Opposition under seal in accordance with their obligations under the protective order.

  (Dkt. No. 691). After reviewing the unredacted Opposition, Google has determined not to seek

  continued sealing of the but-for revenue share and damages numbers, and other figures, contained

  in the Opposition. Therefore, Google consents to the unsealing of the Opposition and the filing of

  an unredacted version of the Opposition in the public record.
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  Dated: June 6, 2024                  Respectfully submitted,

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